Case 1:15-cr-00381-RJD-RER Document 78 Filed 05/06/16 Page 1 of 2 PageID #: 740



                                                   U.S. Department of Justice

                                                   United States Attorney
                                                   Eastern District of New York
                                                   271 Cadman Plaza East
 F. # 2012R00103                                   Brooklyn, New York 11201



                                                   May 6, 2016


 By ECF

 The Honorable Ramon E. Reyes, Jr.
 United States Magistrate Judge
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn. New York 11201

                Re:    United States v. Korchevsky, et al.,
                       Criminal Docket No. 15-381 (RJD)

 Dear Judge Reyes:

                Pursuant to Judge Dearie’s April 8, 2016 order, the government writes to provide
 a status update on discovery. On March 4, 2016, the government, pursuant to Rule 16 of the
 Federal Rules of Criminal Procedure, made materials numbered as Korchevsky_0000001
 through Korchevsky_0859051 available to the defense. See docket item 71. That first
 production was approximately 500 gigabytes and consisted of, inter alia, of subpoenaed
 brokerage records, bank records, pen register returns and email search warrant returns. As noted
 on March 4, 2016, there will be at least two more productions to follow. Defense counsel has
 reached out to the government so that both sides can walk through this first production together.
 We hope to have that discussion soon.

                  The next production involves more than 1 terabyte of materials that our office
 received after the instant case’s indictment from United States Attorney’s Office for the District
 of New Jersey. Those materials will include images of computers acquired from search warrants
 in the Ukraine, pen register returns and email search warrant returns. The processing and
 discovery production of those materials within the Department of Justice could take up to six
 additional months. Therefore, we are in the process of hiring an outside vendor to make those
 materials available to the defense. Including the administrative time to locate the funding to
 process these materials, we hope to make this second set of discovery available in June 2016.
Case 1:15-cr-00381-RJD-RER Document 78 Filed 05/06/16 Page 2 of 2 PageID #: 741




                The third production involves more than 5 terabytes of materials received from
 search warrants executed during the day of arrest. Those materials will include images of the co-
 conspirators’ computers and phones. We are again going to use an outside vendor to process
 these materials. We hope to make this third set of discovery available in July 2016.

                 The next status conference before Judge Dearie is scheduled for August 2016. By
 that time, the government and the defense will have met to walk through the first set of discovery
 and the government will likely have completed discovery. Indeed, discovery will likely be
 completed in July 2016, a month prior to the next status conference.

                Pursuant to Judge Dearie’s order, the government will provide you with our next
 update on or about June 8, 2016. If you have any questions, please do not hesitate to contact us.


                                                     Very truly yours,

                                                     ROBERT L. CAPERS
                                                     United States Attorney

                                              By:      /s/
                                                     Christopher Ott
                                                     Assistant U.S. Attorney
                                                     (718) 254-6154

 No Enclosures

 cc:    Clerk of the Court (RJD) (by ECF)

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